                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 1 of 7 Page ID
                                                  #:30755

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          17
                                 UNITED STATES DISTRICT COURT
          18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          19
                   MASIMO CORPORATION,                        CASE NO. 8:20-cv-00048-JVS (JDEx)
          20       CERCACOR LABORATORIES, INC.,
          21                          Plaintiffs,             SUPPLEMENTAL BRIEF IN
                                                              SUPPORT OF DEFENDANT APPLE
          22             v.
                                                              INC.’S MOTION TO DE-DESIGNATE
          23       APPLE INC.,
                                                              Judge:     Magistrate Judge John D. Early
                                      Defendant.              Date/Time: April 29, 2021 / 10:00 AM
          24                                                  Courtroom: 6A
          25                                                  Discovery Cutoff:           7/5/2021
                                                              Pre-trial Conference:       3/21/2022
          26                                                  Trial:                      4/5/2022
          27
          28

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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 2 of 7 Page ID
                                                  #:30756

            1            The issue before the Court is whether Plaintiffs have met their burden to show
            2      information qualifies as “AEO”—that the information is “extremely confidential and/or
            3      sensitive ‘Confidential Information,’ disclosure of which to another Party or Non-Party
            4      is likely to cause harm or significant competitive disadvantage” to Plaintiffs. PO § 4.4.
            5      Plaintiffs have not carried their burden.
            6      A.    Plaintiffs’ Arguments Are Wrong and Do Not Address the Relevant Issue
            7            First, Apple’s motion does not attempt to litigate “the merits that Apple’s
            8      publication rendered Plaintiffs’ trade secrets generally known.”         JS 6.    Whether
            9      Plaintiffs’ trade secrets were known (p. 36-7) and thus not a protectable secret at the
          10       time of alleged misappropriation is likewise irrelevant. The issue before the Court is
          11       whether Plaintiffs have met their burden to demonstrate that the disputed information
          12       presently qualifies for an AEO designation under the PO.
          13             Second, Apple is not seeking to relitigate anything. Judge Selna has not addressed
          14       whether the specific disputed information qualifies as AEO. This is distinct from
          15       whether information on the public docket should be sealed or whether Apple’s in-house
          16       counsel should have access to the descriptions of all of Plaintiffs’ alleged trade secrets.
          17             Third, Plaintiffs’ argument (p. 47) that there is “nothing unusual or unfair” about
          18       relying on sophisticated outside counsel is inapt. It assumes Plaintiffs have met their
          19       burden to justify their AEO designations in the first instance. They have not. Apple
          20       does not dispute that proper AEO designations require it to rely on outside counsel. But
          21       here, Apple is prejudiced by Plaintiffs’ manifestly overbroad and unsupported
          22       designations.
          23             Finally, the issue is not whether “Apple’s in-house counsel needs more access” to
          24       certain information (though it does). JS 4. Plaintiffs’ overbroad AEO designations are
          25       not excused because they let Apple in-house counsel see a small subset of the disputed
          26       information once, without being able to take notes, simply to evaluate a compromise
          27       proposal. See Kaounis Decl. ¶ 14. Nor does Apple have the burden to show it needs
          28       information that is improperly designated in the first place. See, e.g., PO § 8.4.

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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 3 of 7 Page ID
                                                  #:30757

            1      B.       Claimed Trade Secret Category Headings Are Not AEO
            2               Plaintiffs’ declaration purports to address “confidential techniques within the[ir]
            3      categories” of technical trade secrets, Diab. Decl. ¶ 5 (emph. added),1 but does not
            4      demonstrate that the category names are unknown to others. Indeed, Plaintiffs’ pulse
            5      oximeters exist to calculate                      , and they obviously do so using              .
            6      It is likewise no secret that Plaintiffs find value in “
            7                   .” Plaintiffs publicly allege that the “’      Patent claims subject matter that
            8      Lamego obtained from . . . Masimo employees,” and publicly quote
            9                                    from that Patent. See Ex. 6, 4th AC ¶¶           . The Court’s
          10       public Order on Plaintiffs’ motion for preliminary injunction further states that “Masimo
          11       uses a                                                   .” ECF 206 at 2; see also ECF 273
          12       at 13 (order publicly referencing “     trade secrets”).2
          13                Plaintiffs’ allegations of harm likewise lack merit. Plaintiffs’ assertion that its
          14       competitors would gain an “unfair head start,” JS 30, simply by knowing their claimed
          15       technical trade secret categories lacks any basis in fact or logic, as does the assertion
          16       that knowing these headings would allow anyone to “piece together Plaintiffs’ trade
          17       secrets,” id. at 31. The headings reveal nothing about Plaintiffs’ alleged underlying
          18       secrets, and this Court does not have to accept Plaintiffs’ implausible claims suggesting
          19       otherwise. See Oracle Am. v. Google, 2012 WL 1189898, at *1 (N.D. Cal. Jan. 4, 2012)
          20       (denying motion after finding “attorney-prepared declaration” was “unpersuasive”).3
          21
          22        1
                       The declarant, Mr. Diab, does not describe himself as having a role at Cercacor; it is
                   thus unclear how he has personal knowledge of Cercacor’s trade secrets or the impact
          23       that disclosure would have on Cercacor. See e.g., Diab Decl. ¶¶ 1-4.
                    2
                       Plaintiffs cite Scranton Prod. v. Bobrick Washroom Equip., 190 F. Supp. 3d 419, 440
          24       (M.D. Pa. 2016). That opinion found four words that “relate[d]” to plaintiff’s trade
                   secrets merited an AEO designation, but did not reveal the words or describe how they
          25       related to trade secrets at issue.
          26        3
                       Further underscoring the impropriety of Plaintiffs’ AEO designations is that the
                   names of categories of technical trade secrets are frequently disclosed—often in more
          27       detail than Plaintiffs’ headings. See, e.g., Keyssa v. Essential Prods., 2019 WL 176790,
                   at *2 (N.D. Cal. Jan 11, 2019) (describing trade secret categories as: “Circuitry and
          28       semiconductor architecture,” “antennae, transmitter, and deceiver designs to minimize
                   channel crosstalk and maximize signal integrity,” and “Methods for minimizing
                   electromagnetic interference, radiofrequency interference, and electrostatic discharge”).
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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE                CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 4 of 7 Page ID
                                                  #:30758

            1      C.      Near-Verbatim References to Apple’s Patents Are Not AEO
            2              Once information is published in a patent, it is public. Stutz Motor Car v. Reebok,
            3      909 F. Supp. 1353, 1359 (C.D. Cal. 1995). Public information does not qualify for AEO
            4      protection. PO § 4.4. Plaintiffs do not dispute that the allegations in 4th AC Paragraphs
            5      40(10)–(15) and 42(4)–(5) are: (1) published in Apple’s patents, see JS 40 (claiming
            6      Apple “improperly published Plaintiffs’ information [in patents]”); 4th AC ¶¶ 235, 243,
            7      and (2) copied near verbatim from the ’          and ’    Patents, see chart at JS § II.A.2.b.
            8      The inquiry stops there—public information cannot be “highly confidential.”
            9              In an attempt to evade this logic, Plaintiffs rely on a misguided “context”
          10       argument: that their allegations are confidential because no one “would have selected
          11       these Apple patents . . . as being particularly important, and then focused on specific
          12       portions . . . as providing critical information.” Id. at 37. Put differently, Plaintiffs claim
          13       that the “secret” is the value they place on these specific patent excerpts. This argument
          14       fails for a simple reason: Plaintiffs have already publicly accused Apple of incorporating
          15       their                                      and                                   into Apple’s
          16       patents. See 4th AC ¶¶
          17
          18
          19                                                                                              . That
          20       Plaintiffs have based four public patent ownership claims on this information broadcasts
          21       that they find it valuable. Regardless, there is no authority for this illogical position—
          22       Plaintiffs have identified no case holding that an alleged trade secret published in a
          23       patent or revealed in a commercially available product is not actually “public” so long
          24       as the information is not explicitly identified as a trade secret.4
          25               Plaintiffs’ cases are inapposite. In Atlantic Research Marketing Systems, Inc. v.
          26
          27        4
                        Plaintiffs are also wrong to suggest that whether something is public turns on whether
          28       it is generally known. JS 37. There is no “generally known” standard for confidentiality
                   designations—it is either public or it is not—and it is Plaintiffs’ burden to show that
                   information is AEO. PO § 8.4.
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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE               CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 5 of 7 Page ID
                                                  #:30759

            1      Troy, the court held that whether the alleged trade secret was “‘something beyond’ what
            2      was disclosed in the [] patent” was a “matter[] for the jury.” 659 F.3d 1345, 1357 (Fed.
            3      Cir. 2011). This misses the point. The information here is the language of the patents—
            4      it does not go “beyond” it. And unlike in Cedars Sinai Med. Ctr. v. Quest Diagnostic,
            5      2018 WL 2558388, at *5 (C.D. Cal. Feb. 27, 2018), the Court here need not “sift
            6      through” the patents to “discern whether they fully disclose everything about” Plaintiffs’
            7      alleged secrets—there is no dispute that all the information at issue is published in
            8      patents. Id.
            9      D.    Other Boilerplate Allegations (in JS § II.A.1) Are Not AEO
          10             Plaintiffs concede that they have not “[e]xercise[d] [] [r]estraint and [c]are in
          11       [d]esignating [m]aterial” AEO. PO § 7.1. Based on the chart they included, JS 44-45,
          12       and their request that only information within brackets remain designated AEO, JS 43-
          13       44, Plaintiffs concede that: (1) the disputed allegations in Paragraphs 247 and 253 do
          14       not merit AEO protection; (2) the disputed allegations in Paragraphs 234, 236-37, 241-
          15       42, 244, 254, 256, 258 do not merit AEO protection if the Court agrees that the category
          16       headings of the technical trade secrets are not AEO; and (3) the rest of the disputed
          17       allegations in Paragraphs 236, 244, and 250 do not merit AEO protection if the Court
          18       agrees that the references to the ’             Patents and certain healthcare institutions
          19       in those paragraphs are not AEO. See Appendix A. The Court should find that these
          20       references are not AEO, as Plaintiffs publicly allege that the               Patents claim
          21       subject matter that Lamego obtained from Masimo. See 4th AC ¶¶
          22                       . Plaintiffs’ relationships with the institutions in Paragraph 250 are
          23       also public. JS 26 n.2.
          24             Separately, Plaintiffs’ assertion that de-designating information would allow
          25       Apple to “freely circulate” the information to Apple’s engineers, JS 46, is belied by the
          26       PO, PO. § 5 (“Protected Material shall be used solely for this case…”).
          27       E.    Apple Watch Images Are Not AEO
          28             Plaintiffs argue that Apple Watch images are confidential because there is nothing

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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 6 of 7 Page ID
                                                  #:30760

            1      that “would identify these specific images, or this combination of images, as identifying
            2      aspects of Plaintiffs’ trade secrets.” JS 59. But again, Plaintiffs offer no support for
            3      their “context” argument. 5 Pictures derived from the commercially-available Apple
            4      Watch are not confidential. Examples are readily available on the internet. JS 53-54.
            5            Plaintiffs’ claim that “disclosing these images” in the context of the Complaint
            6      would provide “highly confidential information” about their alleged trade secrets, JS 59,
            7      and that the images alone “
            8                                          ,” Diab Decl. ⁋ 10 (emphasis added), makes no sense.
            9      And the argument that “[c]ompetitors, including Apple, could use this information to
          10       focus their research and development efforts,” JS 59—is also meritless. Apple is not
          11       requesting to unseal these allegations; thus “other competitors” will not gain access to
          12       these images. And since Apple built the Watch, it already knows the internal structures
          13       and their value. The Court does not have to accept Plaintiffs’ illogical assertions of
          14       supposed harm. See, e.g., Oracle, 2012 WL 1189898, at *1.
          15       F.    Plaintiffs’ ESI Disclosures Are Not AEO
          16             Whether Apple’s in-house counsel already has access to the ESI custodian chart
          17       is irrelevant—the issue is whether Plaintiffs have properly designated it AEO. They
          18       have not. Plaintiffs’ argument that their ESI custodians list merits “AEO” designation
          19       is solely rooted in the unfounded concern that Apple will “recruit Plaintiffs’ employees.”
          20       JS 69. Further, this Court has previously de-designated an employee list and rejected
          21       the claim that employee names and a “vague and brief description of the subject matter
          22       of their anticipated testimony” represent a “roadmap” to recruiting personnel. Bryant v.
          23       Mattel, 2007 WL 5416684, at *4-5 (C.D. Cal. Feb. 6, 2007) (confidentiality designation
          24       was “unnecessary because the protective order contains a prohibition against using any
          25       Litigation Materials . . . for non-litigation purposes”).
          26
          27
          28        5
                      Plaintiffs’ cases are irrelevant; they concern whether information qualifies as a trade
                   secret at the time of misappropriation.
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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE                CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 341-1 Filed 04/15/21 Page 7 of 7 Page ID
                                                  #:30761

            1      Dated: April 15, 2021                  GIBSON, DUNN & CRUTCHER LLP
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                   SUPP. BRIEF ISO APPLE’S MOT. TO DE-DESIGNATE              CASE NO. 8:20-cv-00048-JVS (JDEX)
